                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MISSOURI

                                    CRIMINAL CASE COVER SHEET
 Division of Filing                             Place of Offense                Matter to be Sealed
   Western                     St. Joseph                                        Secret Indictment
   Central                     Southern         Jackson                          Juvenile
                                                County and
   Southwestern
                                                elsewhere
Defendant Information
Defendant Name              Ian Lee Cook
Alias Name
Birthdate                   03/12/1993
Related Case Information
Superseding Indictment/Information Yes            No if yes, original case number 19-00406-01/18-W-CR-
RK
New Defendant                           Yes       No
Prior Complaint Case Number, if any
Prior Target Letter Case Number, if any

U.S. Attorney Information
AUSA Bruce Rhoades
Interpreter Needed
  Yes         Language and/or dialect
  No
Location Status
Arrest Date
  Currently in Federal Custody
  Currently in State Custody                           Writ Required              Yes    No
  Currently on Bond                                                               Yes    No
                                                       Warrant Required

U.S.C. Citations
Total # of Counts    2
  Set      Index Key/Code/Offense             Description of Offense Charged             Count(s)
                   Level
                                        Conspiracy to Distribute Meth and
   1    21:846=CD.F/6801/4                                                                    1
                                        Heroin
                                        Conspiracy to Commit Money
   2    18:1956-6701.F/6701/4                                                                 2
                                        Laundering
                                         (May be continued on reverse)




Date   9/30/2020                     Signature of AUSA            /s/ Bruce Rhoades




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